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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

DOV HIKIND,
Plaintiff
V.
ALEXANDRIA OCASIO-CORTEZ,

Defendant.

 

No. 19-cv-3956 FB-CLP

Xx

STIPULATION OF DISMISSAL

Pursuant to Rule 41(a)(1)(A)(i1) of the Federal Rules of Civil Procedure, the parties

to this action hereby stipulate that this action be, and it hereby is, dismissed with prejudice.

Dated: New York, New York

November 4, 2019

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